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                          EXHIBIT C
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                                                                               21STCV21017
                                 Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Stuart Rice

Electronically FILE   by Superior Court of California, County of Los Angeles on 06/04/2021 03:43 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Barel,Deputy Clerk


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                 8                                     SUPERIOR COURT FOR THE STATE OF CALIFORNIA

                 9                                                   FOR THE COUNTY OF LOS ANGELES

               10       DAVID McLAUGHLIN,                   )                                           Case no.          21 STD/21 01 7
                                                            )
               11                        Plaintiff,         )                                           COMPLAINT FOR UNFAIR COMPETITION
                                                            )
               12               vs.                         )
                                                            )
               13                                           )
                        HOMELIGHT, INC., and DOES I through )                                           UNLIMITED JURISDICTION
               14       20, inclusive,                      )
                                                                                             )
               15                                         Defendants.                        )

               16

               17                              Plaintiff David McLaughlin ("Plaintiff'), alleges as follows:

                18                             1. Defendant Homelight, Inc. caused damage to Plaintiff at 28976 S. Lakeshore

                19      Drive, Agoura Hills, California 91301.
               20                              2. The true names and capacities, whether individual, corporate, associate, or

               21       otherwise, of Defendants Does 1 through 20, inclusive, are unknown to Plaintiff. When Plaintiff

               22       learns their identity, Plaintiff will amend this Complaint to add them as named defendants.

               23                              3. Plaintiff is informed and believes, and based upon such information and belief

                24      alleges, that at all times material hereto, each defendant was the agent and/or partner and/or
                25      employee and/or alter ego of each other defendant and, in doing the things hereinafter alleged, acted

                26      within the scope and course of such agency and/or employment, and with the actual or apparent

                27      authority of the other defendants; and, each defendant ratified the acts of the other defendants.

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 1                                                         I.

 2                                          FIRST CAUSE OF ACTION:

 3                                            UNFAIR COMPETITION

 4                                                (15   u.s.c. §1125)
 5                                             (Against all Defendants)

 6                    4. Plaintiff incorporates the allegations of paragraphs 1 through 3 above, and makes

 7    them a part of the instant cause of action as if fully set forth herein.
 8                    5. Defendants' website makes the following representations.
 9                            A. It has "run the numbers" to identify the top real estate agents in Agoura

10    Hills.

11                            B. "Homelight analyzes all 1570 Agoura Hills, CA real estate agents and

12    compares them on their historical performance data. The top 3% of Agoura Hills real estate agents

13    handle an average of 638 properties and move them in 44 days."
14                            C. "See how 20 of the top REALTORS® and real estate agents in Agoura

15    Hills, CA stack up" immediately followed by profiles for Staphanie Vitacco, Mark Moskowitz, Jim

16    Sandoval, Sara Mehrpouyan, Kathryn Christiansen, David Bartels, Stephen Christie, Lara & Natalie

17    R. (Prime Realty), and Dave Walter (collectively, "Homelight Top Agents").
18                            D. "Agoura Hills has 1,570 active real estate agents, but how do you know

19    which one is right for you? The top 3% of real estate agents in Agoura Hills move homes 32.32 days

20    faster than the average agent and work 525.21 more properties."
21                            E. "Top real estate agents have more local expertise, prepare in-depth market

22    analyses, and have industry connections that you can't find by yourself. They know your

23    neighborhood like the back of their hand and use their market knowledge to sell your home faster

24    then the average agent and for money."
25                            F. "Our data shows that the top 5% of listing agents sell homes for an much
 26   as (+9%) more than the average real estate agent. A great agent makes a difference when you buy a

 27   house, too: We've found that the top 5% of buyer's agents on average save their clients 2.5% more
 28   on their home purchase. So, whether you're in the market to find your dream home or sell your


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  I   house at a great price, the right agent matters. We encourage you to connect with a top real estate

  2   agent if you're buying or selling a home in Agoura Hills, CA."

  3                          G. "HomeLight analyzes all real estate agent in Agoura Hills to bring you

  4   custom, unbiased, data-driven recommendations. We use actual home sales transaction data to

  5   compare Agoura Hills real estate agent and will only introduce you to the top perfo1ming agents.

  6   They do not pay to advertise on our site and we do not pay to list them. To give you the best object

  7   recommendations, we consider things like: how fast a real estate agent sells, how many properties

  8   they work on, how much money they save or earn their clients, and what cities and neighborhoods

  9   they specialize in. You can trust that we'll match you with the right agents for your needs."

 10                  6. Defendant's representations are false on their face. The vast majority of the

 11   Homelight Top Agents have been involved in few, if any, real estate transactions in the City of

 12 Agoura Hills. In some cases, the identified real estate agents cannot even be classified as real estate
 13   agents in Agoura Hills, let alone "top real estate agents" in Agoura Hills. There is simply no analysis

 14   or data that would qualify the Homelight Top Agents as being "top real estate agents" in Agoura

15    Hills. Further, Homelight's representations imply that there is no pay-for-play arrangement between

16    it and Homelight's Top Agents. However, Plaintiff is informed and believes that each of the

17    Homelight Top Agents are contractually bound to share and/or assign a percentage of their

18 ·commission in the Homelight referral scheme.
19                   7. The true facts are that Plaintiff has participated in more real estate transaction and

20    has the highest total amount of gross sales in Agoura Hills over the past 20 years. Year over year,

21    Plaintiff has been number one or two for number of real estate transactions and cumulative gross

22    sales in Agoura Hills. However, despite objectively superior numbers, Plaintiff has never been

23    described by Defendants as a "top agent" in Agoura Hills, California. Further, the Homelight Top

24    Agents have no "historical performance data" to put them in the top 3% of real estate agents in

25    Agoura Hills, California.

26                   8. Defendants' use of false and misleading representations of fact in commercial

27    advertising or promotion misrepresents the nature, characteristics, or qualities of Defendants'

28    services.


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                    9. Defendants' use of false and misleading representations of fact have the tendency

 2   to deceive a substantial portion of the target consumer audience, or actually deceives the target

 3   consumers.
 4                   10. Defendants' false and misleading representations of fact are material because

 5   they are likely to influence the decision of the target consumer in hiring a real estate agent for the

 6   listing of their property for sale and/or choosing a real estate agent for the purchase ofa home ..

 7                   11. Plaintiff has been and continues to be injured by Defendants' false and

 8   misleading representations of fact through the diversion ofreal estate customers to inexperienced

 9   real estate agents/brokers and/or loss of Plaintiff's goodwill.
10                   12. Defendants know that their representations of fact are false and misleading.

11                   13. Defendants' false and misleading representations of fact in identifying the top

12   real estate agents in Agoura Hills, California, were done with bad faith and malice or reckless

13   indifference to Plaintiff's and consumers' interests.
14                   14. Defendants bad faith false and misleading representations of fact regarding the

15   identity of top real estate agents makes this an exceptional case within the meaning of 15 U.S.C.

16   §1117.
17                   15. Defendants continue to make false and misleading representations of fact

18   regarding the identity of the top real estate agents in Agoura Hills, California, and will continue to do

19   so unless enjoined by this Court as provided by 15 U.S.C. §1116.

20                   16. Plaintiff is entitled to an award ofDefendants' profits due to sales by the falsely

21   and misleadingly represented "top real estate agents," any damages sustained by Plaintiff, and the

22   cost of the action pursuant to 15 U.S.C. §1117.
23                  WHEREFORE, Plaintiff prays for judgment against defendants, and each of them as

24   follows:

25                   I. For monetary damages estimated to be in excess of $500,000.00;
26                  2. For attorneys' fees pursuant to 15 U.S.C. §1117;

27                  3. For punitive damages;

28                  4. For a preliminary injunction and permanent injunction enjoining defendants and


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 1   their servants, agents, and employees, and all such persons acting under, in concert with, or for them
 2   from continuing to identify novice and statistically unqualified individuals as "top real estate agents"

 3   in Agoura Hills on its website and to include Plaintiff as one of the "top real estate agents" in Agoura

 4   Hills on its website.

 5                   5. For costs of suit incurred herein; and

 6                   6. For such other relief as the Court deems just and proper.

 7   DATED: June 4, 2021                           SCOTT A. MEEHAN, ESQ.

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 9                                                 By: ls/Scott A. Meehan
                                                          Scott A. Meehan
10                                                 Attorney for Plaintiff

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